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                              UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS

                                        )
 UNITED STATES OF AMERICA               )
                                        )      Court No.: 14-cr-10363-RGS-3-9, 11-12
         v.                             )
                                        )
 BARRY CADDEN, ET AL.,                  )
                                        )
                Defendants.             )
                                        )

MOTION OF DEFENDANT SHARON CARTER FOR LIMITING INSTRUCTION AND
      TO STRIKE CERTAIN TESTIMONY BY SPECIAL AGENT SLINEY

       Defendant Sharon P. Carter (“Carter”) respectfully moves that the Court issue a limiting

instruction and that it also strike certain testimony given at trial by Special Agent Sliney

concerning an investigative interview he conducted of co-defendant Joseph M. Evanosky

(“Evanosky”). Carter bases her request on the Confrontation Clause of the Sixth Amendment, as

applied to out-of-court testimonial statements by codefendants. E.g., Crawford v. Washington,

541 U.S. 36 (2005); Bruton v. United States, 391 U.S. 123 (1968).

       In support, Carter states as follows:

       1.      On Day 19 of the trial in this matter, the government elicited testimony from FBI

Special Agent Phil Sliney that he and a fellow FBI agent interviewed Evanoksy on November 8,

2012, at the outset of the government’s investigation in this matter. The interview took place

after the New England Compounding Center (“NECC”) ceased operations. The prosecutor

asked Agent Sliney to summarize what Evanosky had said during that interview about the

operation of clean room 1 at NECC, including issues relevant to several of the criminal charges

currently being tried. In his testimony, Agent Sliney recounted, among other things, a statement
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by Evanosky expressing his belief concerning the alleged knowledge of Sharon LNU concerning

decisions made by Glenn Chin regarding the shipment of certain products.

       2.      Agent Sliney did not conclude his testimony on Day 19. In anticipation of further

questions and further testimony by Agent Sliney concerning his interview of Evanosky, Carter

respectfully makes two requests. First, pursuant to the holdings of Crawford and Bruton, Carter

moves that the Court issue a limiting instruction to the jury at the outset of Day 20 that any

statements made by Evanosky during any government interviews may be considered only against

Evanosky, not against any of the other defendants. Second, Carter requests that the Court strike

Agent Sliney’s testimony concerning Evanosky’s statement about Sharon LNU and instruct the

jury that it may not consider that statement at all.

       3.      As grounds, Carter submits that Evanosky’s out-of-court statements to Agent

Sliney and his partner, even if admissible against Evanosky, are not independently admissible

against Evanosky’s jointly tried codefendants. The statements were made to law enforcement

personnel; they were, accordingly, testimonial; and the interview occurred approximately a

month after NECC had closed. Under these circumstances, absent an opportunity by the other

defendants to cross-examine Evanosky, the Confrontation Clause not only bars the introduction

of his statements against his codefendants but also requires the Court to give a limiting

instruction to the jury that Evanosky’s statements may only be considered as to him. E.g.,

United States v. Vega-Molina, 407 F.3d 511, 518-21 (1st Cir. 2005). In addition, given the

facially incriminating nature of Evanosky’s statement regarding Sharon LNU, the Confrontation

Clause -- as interpreted and applied in Bruton -- should have caused the prosecution to refrain

from eliciting that statement. To remedy that error, Carter moves that the Court strike the latter

testimony from the record and instruct the jury to disregard it.




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                                              Respectfully submitted,

                                              SHARON P. CARTER,

                                              By her attorney,



                                              /s/ Michael J. Pineault
                                              Michael J. Pineault (BBO #555314)
                                              CLEMENTS & PINEAULT, LLP
                                              24 Federal Street
                                              Boston, Massachusetts 02110
                                              (857) 445-0135
                                              mpineault@clementspineault.com

Dated November 6, 2018




                                CERTIFICATE OF SERVICE

        I hereby certify that this document filed through the ECF system will be sent electronically
to the registered participants as identified on the Notice of Electronic Filing (NEF) and paper
copies will be sent to those indicated as non-participants on November 6, 2018.

                                                     /s/ Michael J. Pineault
                                                     Michael J. Pineault




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